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     Federal Defender
2    CARO MARKS, Bar #159267
     Senior Litigator
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6
     Attorney for Defendant
7    ADAM REYES
8
9
                         IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,           )   No. CR-S-08-392 GEB
14                                       )
                     Plaintiff,          )
15                                       )   STIPULATION AND ORDER FOR
          v.                             )   CRIMINAL HISTORY CALCULATION
16                                       )
     ADAM REYES,                         )
17                                       )   Date: February 26, 2010
                     Defendant.          )   Time: 10:00 a.m.
18                                       )   Judge: Hon. Garland E. Burrell, Jr.
     _____________________________       )
19
20
          The United States of America, by and through its counsel, Michael
21
     Beckwith, and Adam Reyes, by and through his counsel, Caro Marks,
22
     hereby stipulate and agree as follows:
23
          Since the departure of Karen Meusling Pyatt from United States
24
     Probation, some of its procedures have changed. Now, if one or both
25
     parties want Probation to calculate a defendant’s criminal history
26
     score (for guidelines purposes), and this task would require Probation
27
     to order documents, records, “rap sheets”, etc. from courts or other
28
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1    agencies, Probation requests the parties seek by stipulation the
2    court’s order to do so.     A stipulation and order is not necessary for
3    every request for a criminal history calculation, but only for those
4    sufficiently complicated that Probation would have to order records to
5    reach a conclusion.
6         Defendant Adam Reyes’ record is such an example. Probation Officer
7    Linda Alger, as well as two different defense counsel, have examined
8    the record and are unable to determine without more what criminal
9    history category applies or indeed, whether the defendant is a career
10   offender.   His certified “rap sheet” shows numerous incomplete arrests
11   or convictions, and there appear to be a sufficient number of drug-
12   related convictions to suggest he may be a career offender. Therefore,
13   having examined the available records and found them insufficient to
14   reach a conclusion, Probation has requested the undersigned counsel to
15   move the court for an order it complete a criminal history calculation
16   only (that is, not a complete “Pre-Plea PSR”), on behalf of Mr. Reyes.
17        As time under the Speedy Trial Act has repeatedly and consistently
18   been excluded under Local Code T-4, for ongoing preparation of counsel,
19   this court need not make any other findings of excludable time.
20        Since it is possible Probation will not be able to complete this
21   task before the defendant’s next appearance on February 26, 2010, the
22   parties may seek to continue that appearance until the calculations are
23   complete.
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     Name of Pleading Reyescrimhistorder
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1    Dated:     February 19, 2010              Respectfully Submitted,

2
                                               DANIEL BRODERICK
3                                              Federal Defender

4
                                               /s/ Caro Marks
5                                              _________________________
                                               CARO MARKS
6                                              Assistant Federal Defender
                                               Attorney for Defendant
7                                              TROY NELSON

8
9                                              BENJAMIN WAGNER
                                               United States Attorney
10
11                                             /s/ Michael Beckwith
                                               _______________________
12                                             MICHAEL BECKWITH
                                               Assistant U.S. Attorney
13
14                                           ORDER

15             UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is

16   ordered that United States Probation for the Eastern District of

17   California conduct a calculation of defendant Adam Reyes’ criminal

18   history score, as that term is used in the United States Sentencing

19   Guidelines.

20        Upon completion of the calculation, Probation shall notify both

21   parties, and shall furnish both parties with its conclusion, along with

22   a copy of its calculations so that the parties may understand the means

23   by which Probation reached its conclusion.

24   IT IS SO ORDERED.

25   Dated:     February 22, 2010
26
27                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
28


     Name of Pleading Reyescrimhistorder
                                       -3-
